  Case 3:16-cr-00444-MIN THE
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                              FOR THE NORTHERN DISTRICT OF TEXAS                         NORTHERN DIS 1 kfCT m J.L;., ~\~.
                                        DALLAS DIVISION                                             FTLRD
UNITED STATES OF AMERICA

VS.
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                                                       )          CASE NO.:
                                                                                3: 6-CR~4[~ '~~~~-,     2
                                                       )                                  CLERK, U.S.    S . ICT COlJl\.T
JUAN RICO (1)                                          )                                   By ____~~~-----

                                 REPORT AND RECOMMENDATION
                                  CONCERNING PLEA OF GUILTY

          JUAN RICO, by consent, under authority ofUnited States v. Dees, 125 F.3d 261 (5th Cir. 1997), has
appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count(s) 1 of the
Indictment. After cautioning and examining JUAN RICO, under oath concerning each of the subjects
mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that the offense(s)
charged are supported by an independent basis in fact containing each of the essential elements of such offense
(s). I therefore recommend that the plea of guilty be accepted, and that JUAN RICO, be adjudged guilty of
Possession of a Controlled Substance with Intent to Distribute, a violation of 21 U.S.C. § 84l(a)(l) and
(b)(1)(C) and 18 U.S.C. § 2 and have sentence imposed accordingly. After being found guilty of the offense(s)
by the distri~ge,

        V       The defendant is currently in custody and should be ordered to remain in custody.

        D       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(1) unless the Court
                finds by clear and convincing evidence that the defendant is not likely to flee or pose a danger
                to any other person or the community if released.

                D       The Government does not oppose release.
                D       The defendant has been compliant with the current conditions of release.
                D       I find by clear and convincing evidence that the defendant is not likely to flee or pose
                        a danger to any other person or the community if released and should therefore be
                        released under§ 3142(b) or (c).

                D       The Government opposes release.
                D       The defendant has not been compliant with the conditions of release.
                D       If the Court accepts this recommendation, this matter should be set for hearing upon
                        motion ofthe Government.

        D       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (l)(a) the
                Court finds there is a substantial likelihood that a motion for acquittal or new trial will be
                granted, or (b) the Government has recommended that no sentence of imprisonment be
                imposed, or (c) exceptional circumstances are clearly shown under§ 3145(c w the defendant
                should not be detained, and (2) the Court finds by clear and convincin evi ence that the
                defendant is not likely to flee or pose a  ger to an other person or the co mu ity if released.


Date:   August29, 2017.




                                                  NOTICE

         Failure to file written objections to this Report and Recommendation within fourteen (14) days from
the date of its service shall bar an aggrieved party from attacking such Report and Recommendation before the
assigned United States District Judge. 28 U.S.C. §636(b)(l)(B).
